UNITED STATES DlSTRlCT COURT
SOUTHERN DISTRICT OF NEW YORK
-- X Case No.:l:lS~CV-07543 NRB

 

ANAS OSAMA lBRAl-IIM ABDlN

Plaintiff,
-against-
CBS BROADCASTING, INC and/or CBS CORP. AMENDED
NETFLIX, INC. VERlFIED COMPLAINT
JURY TRIAL DEMANDED
Defendants.

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Plaintiff, ANAS OSAMA IBRAHIM ABDIN, through his attorneys, JOHN JOHNSON,
Esq. and ALLAN Cl-IAN, Esq. complaining of the defendants, CBS Broadoasting, Inc. and/or

Netflix, lno., upon information and belief sets forth and alleges as follows:

NATURE OF CLAIMS

l. Plaintiff commences the instant action seeking a preliminary and/ or permanent injunction
due to defendants’ infringement of plaintiffs duly copyrighted and originally detailed in a
manuscript published in or about February 2015, along with a series of videos also originally
published in February 2015. Plaintiff’ s final compellation of vvorks Was published in 2017.
Plaintiff holds a copyright in said Worl<s. Additionally, plaintiff being a resident of Kuwait plaintiff
received copyright protection in said Works via the Berne Convention and/ or Universal Copyright
Convention.

2. Additionally, plaintiff seeks damages arising from the defendant’s infringement of
plaintiff s copyrighted Works as Well as, other damages a delineated herein. The defendants are all
active participants in the vvriting, production, broadcasting and/or international live streaming of a
derivative Work substantially similar to plaintiff s copyrighted Work. The defendants incorporated
plaintiffs copyrighted material in their Work entitled “STAR TREK DISCOVERY” Which Was

first broadcast by the defendants on September 24, 2017 (tlie “infringing Work”).

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JURISDICTION AND VENUE
This Court has jurisdiction over this action pursuant to 28 U.S.C.§ 1331, 1338 and 1367(a)
as they arise under the Copyright Act, 17 U.S.C.§ 101 et seq. (the “Act”) and pursuant to
the principals of Supplemental Jurisdiction
Venue is proper in this district pursuant to 28 U.S.C. § 1391(0) in that the defendants Operate
corporate headquarters Within the jurisdiction of the Southern District of NeW York. Said

headquarters are principal places of business for the defendants

THE PARTIES

Plaintiff, Anas Osama lbrahim Abdin (hereinafter “Abdin”) is a citizen of the Republic of
Egypt and a resident of the State of Kuwait having an address of P.O. BoX 5969 Safat
13060, Kuwait.

Defendant CBS Broadcasting, lnc., and/or CBS Corporation (hereinafter “CBS”) is a
United States corporation with a principal place of business at 51 West 52“d Street, New
York N.Y. and is the executive producer/producer of the infringing Work, and responsible
for the broadcast and/or streaming of the infringing Work. At all relevant times CBS
transacted and conducted business Within the State of New York.

Defendant Netflix, lnc., (hereinafter “Netflix”) Purportedly licensed the infringing Work
and struck a deal With CBS to air the infringing Work internationally, While CBS
maintained all rights to Strearn or broadcast in the U.S. Netflix operates corporate offices

With_in the State of New York at 245 West 17th Street New York, NY and continues to make

the infringing Work available internationally

FACTUAL BACKGROUND

1. Between May of 2014 and February of 2015, Plaintiff completed and published several

forum articles and videos for a science fiction manuscript for an upcoming video game.

While some of the content in these articles was factual, some portions of the article were

changed or embellished by Plaintiff. Plaintiff published these articles in Adventure Garne

Studio Forums, Anas-tronaut Blog and Reddit between May of 2014 and February of 2015

(“the Original Work”).

Plaintiff is the sole and lawful proprietor of all rights, title and interest in and to the

copyrighted Original Worl<;.

3..

The substantial, salient and original aspects of the Original Work, copyrightable
under the Act and the laws of the United States, are as follows: The Original Work
centers around a novel science fiction story revolving around space travel facilitated
by a fictitious larva- like creature with eight appendages, a multitude of teeth, sized
larger than a human being, depicted with a blue hue, labeled a “Tardigrade”.

The Original Worl< also concentrates on a gay relationship between two homosexual
male main characters, between an albino male with a dark complexion male with
side bums, mustache, and beard.

The Original Work also concentrates on a main character Whom is accused of
treason.

The Original Work also concentrates on a main character whom is a space botanist.
The Original Work features fictional character named Aziz, a darker complexion
male With black hair and a short- boxed beard, facial hair consisting of trimmed
sideburns, mustache and a goatee.

The Original Work features fictional character named Carter, Who is a blonde white

male, who is a space botanist.

g. The Original Work features fictional character named Yolanda, a female of African
descent with messy curly hair.

h. The Original Work features fictional character named Natasha, a white female with
orange curly hair.

i. The Original Work features ligyptian cultural influence and elements

j. The Original Work features a scene of the tardigrade traveling through space
unaided by any external technologies

k. The Original Work features a scene with imagery of a main character being
surrounded by a glowing blue light with scattered light particles

l. The Original Work features a main character being absorbed into the tardigrade,
becoming one with the tardigrade, and having its powers.

m. The Original Work features physical details and functionality of tardigrades that
have not been published by anyone else.

. ln May of 2014 through February of 2015, Plaintiff published the

Original Work through Adventure Game Studio Forums.

. The Original Work was published on the intemet consisting of United States and other

countries with at least a quarter of million views.

. There are fictional characters, aesthetics and re-worked narratives that are unique to the

Original Work that appear in the Infringing Work.

. Rather than contact Plaintiff, Defendants, while fully aware of Plaintiff’ s copyright in the

Original Work, willfully and improperly developed, produced, filmed and released the

Infringing Work derived from Plaintiffs’ Original Work.

. On September 24, 2017, Defendant CBS distributed the Infringing Work, entitled “Star

Trek: Discovery” Though certain aspects of the Original Worl<; were deliberately changed

in an attempt to obfuscate the origin of the Infringing Work, the salient aspects of the
Original Work shine through
8. The substantially similar and infringing aspects of the Infringing Work are as follows:

a. The infringing Work centers around a larva-like creature, larger than the size of a
person, with eight appendages, shown in many scenes with a blue hue; and has the
ability to navigate space travel. This creature was nicknamed ripper and
subsequently dubbed a giant space tardigrade.

b. The Infringing Work also concentrates a homosexual relationship between two male
main characters, a white male with blonde hair whom resembles an albino with a
dark complexion male with side burns, mustache and beard.

c. The Infringing Worl< also concentrates on a main character who was accused and
convicted of treason.

d. Also the Infringing Work has significant focus in the lnfringing Worl< is a blond
white main character whom is an astromycologist, a space fungus expert

e. The Infringing Work also concentrates on a main character named Hugh Culber
having dark complexion with black hair and a short-boxed beard, facial hair
consisting of trimmed sideburns, mustache and a goatee-

f. The Infringing Worl< also concentrates on a main character named Paul Stamets
who is a blonde white male, and specializes as an astromycologist.

g. The Infringing Work also concentrates on a main character named Michael
Burnham which is a female of African descent and often depicted with messy curly
hair.

h. The Infringing Work also concentrates on a main character named Sylvia Tilly, a

white female often depicted with flowing curly orange hair-

i. Thus, the Infringing Work features four fictional characters: Michael Burnharn,
Hugh Culber, Paul Stamets and Sylvia Tilly; with significantly similar styling which
include skin color, hair styling and facial hair, and sexual orientation in common
with the Original Work.

j. The Infringing Work also incorporates Egyptian styling and cultural practices in
their fictional Klingon race, having a ship named sarcophagus, employing a death
practice similar to mummification, having the murnrny placed into decorated space
sarcophagus, and having uniforms which resembles Egyptian breastplates which is
an element from the Original Work.

k. The Infringing Work depicts the tardigrade creature traveling in space without the
aid of machinery which is taken directly from the Original Work.

l. The Infringing Work depicts a scene where a main character is surrounded by a
glowing blue light with scattered light particles which is taken directly from the
Original Work.

m. The Infringing Work features a main character, injecting himself with tardigrade
DNA (absorbing the tardigrade into himself) and possessing its abilities which is
from the Original Work.

9. l'~/loreoverJ and as further evidence of the originality of Plaintiffs’ Original Work and
Defendants’ infringement thereof, there currently are other depictions and narratives
surrounding the science fiction space travel adventure, however, none focus on the use of
tardigrades for space travel navigation only the Original Work. In fact, the tardigrade

including its size and appearance in the Original Work was specifically created by the
Plaintiff. Plaintiff s made up character of the tardigrade was also given the unique ability
for space travel. This made up creature was willfully and maliciously copied and pasted

into Defendant’s television series_

AS FOR A FlRST CAUSE OF ACTION

(PRELll\/llNARY l'NJUNCTION)

. Plaintiff restates and realleges each and every allegation contained in this Complaint with
the same force and effect as if fully set forth herein.

. Plaintiff is the sole and lawful proprietor of all rights, title and interest in and to the
copyrighted Original Work.

. Defendants had access to the Original Work by virtue of the Original Work being published
with hundreds of thousands of views.

. Defendants, without Plaintiff` s authorization, knowledge or consent, Willfully
infringed on Plaintiff’ s Original Work by causing to be written, produced, and
broadcasted on live television and streamed via an on-demand streaming service,
including without limitation DVD’s, a derivative work entitled “Star Trel<
Discovery”-the Infringing Worl<;-»which is substantially similar to Plaintiff s
Original Work.

. Accordingly, Defendants have infringed Plaintiff" s copyright in the Original Work in direct
violation and contravention of 17 U.S.C. § 101 er seq. and 106 er seq.

. Plaintiff will incur substantial and irreparable injury if Defendants’ are allowed to continue
their infringement of the Original Work pending the resolution of this action.

. By reason of the foregoing, Plaintiff is entitled to a preliminary and permanent injunction
pursuant to 17 U.S.C. § 502 enjoining and restraining Defendants from further infringement

or broadcast of Plaintist copyrighted Original Work.

AS AND FOR A SECOND CAUSE OF ACTION

ACTUAL DAMAGES FOR COPYRIGHT l'NFRlNGl\/IENT

. Plaintiff repeats and realleges each and every allegation contained in this Complaint with
the same force and effect as if fully set forth herein.

. Plaintiff is the sole and lawful proprietor of all rights, title and interest in and to the
copyrighted Original Work.

. Defendants had access to the Original Work by virtue of the Original Work being published
with hundreds of thousands of views

. DefendantsJ without Plaintiff’s authorization, knowledge or consent, willfully infringed on
Plaintiff’s Original Work by causing to be written, producedJ and broadcasted on live
television and streamed on an on-demand streaming service, including without
limitation DVD’s, a derivative work entitled “Star Trek Discovery”-the Infringing
Work--which is substantially similar to Plaintiff’ s Original Worl<.

. Accordingly, Defendants have infringed Plaintiffs’ copyright in the Original Worl<; in direct
violation and contravention of 17 U.S.C. §§ 101 et seq. and 106 er seq.

. By reason of the foregoing, Plaintiff is entitled to actual damages and profits pursuant to 17

U.S.C. § 504(b) in an amount to be determined at trial.

AS FOR A THIRD CAUSE OF ACTION
(STATUTORY DAMAGES FOR COPYRlGl-IT INFRINGEMENT)

. Plaintiff repeats and realleges each and every allegation contained in this Complaint with
the same force and effect as if fully set forth herein.

. Plaintiff is the sole and lawful proprietor of all rights, title and interest in and to the
copyrighted Original Work.

. Defendants had access to the Original Work by virtue of the Original Work being published
with hundreds of thousands of views.

. Defendants, without Plaintiff’s authorization, knowledge or consent, willfully infringed on
Plaintiff’ s Original Work by causing to be written, produced, and broadcasted on live
television and streamed on an on-demand streaming service, including without
limitation, DVD’ s a derivative work entitled “Star Trek Discovery”-the Infringing
Work--which is substantially similar to Plaintist Original Work.

. Accordingly, Defendants have infringed Plaintiff s copyright in the Original Work in direct
violation and contravention of 17 U.S.C. §§ 101 er seq. and 106 er seq_

. By reason of the foregoing, Plaintiff is entitled to statutory damages pursuant to 17 U.S.C.
§ 504(0)(1), in an amount not less than $750 or more than $30,000 per broadcast of the
Infringing work as statutory damages andjor pursuant to 17 U-S.C. §504(c)(2), the sum of
$150,000 per broadcast of the Infringing Work as additional statutory damages pursuant

to 17 U.S.C. §504(c)(2).

AS FOR A FOURTH CAUSE OF ACTION

(ATTORNEY’S FEES AND COSTS)
. Plaintiff repeats and realleges each and every allegation contained in this Complaint with

the same force and effect as if fully set forth herein.
. Plaintiff is the sole and lawful proprietor of all rights, title and interest in and to the

copyrighted Original Work.

3. Defendants had access to the Original Work by virtue of the Original Work being published

with hundreds of thousands of views.

. Defendants, without Plaintiffs’ authorization, knowledge or consent, willfully infringed on

Plaintiffs’ Original Work by causing to be written, produced, and broadcasted on live
television and streamed on an on-demand streaming service, including without
limitation DVD’s a derivative work entitled “Star Trek Discovery”-the Infringing

Work--whioh is substantially similar to Plaintiff’s Original Work.

. Accordingly, Defendants have infringed Plaintiff s copyright in the Original Work in direct

violation and contravention of 17 U.S.C. §§ 101 er seq. and 106 er seq.

6. By reason of the foregoing, Plaintiff respectfully requests the recovery of all costs

as well asJ attorneys’ fees in connection with the prosecution of this case pursuant to 17 U.S.C. §

505.

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AS FOR A FIFTH CAUSE OF ACTION

(CONSTRUCTIVE TRUST)

. Plaintiff repeats and realleges each and every allegation contained in this Complaint with

the same force and effect as if fully set forth herein.

. By virtue of their wrongful conduct, Defendants have illegally received money and profits

that rightfully belong to Plaintiff

. Defendants hold the illegally received money and profits in the form of bank accounts, real

property or personal property that can be located and traced.

. Defendants hold the money and profits that they have illegally received as

constructive trustees for the benefit of Plaintiff

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AS FOR A SIXTH CAUSE OF ACTION

(AccouNrrNo)

Plaintiff repeats and realleges each and every allegation contained in this Complaint with
the same force and effect as if fully set forth herein.

Pursuant to 17 U.S.C. § 504, Plaintiff is entitled to recover all of Defendants’ profits
attributable to their acts of infringement

Pursuant to 17 U.S.C. § 504, Plaintiff is entitled to recover actual damages sustained by
virtue of Defendants’ acts of infringement

The amount of money due from Defendants is presently unknown to Plaintiff and cannot
be ascertained without a detailed accounting by Defendants of all profits obtained from
their marketing, distribution, national television broadcasting and/or streaming of the
Infringing Work.

WHEREFORE, the Plaintiff respectfully request this Court to enter a judgment against the
Defendants for their willful, malicious, Writing, producing, and broadcasting on live television
and streamed on an on-demand streaming service, including without |imitation, DVD’s a
derivative Work entitled ”Star Trel< Dlsccvery”- the Infringing Work-which is substantially
similar to Plaintitfs’ Original Work which resulted ln, and continues to result in, injuries to Plaintift.

According|y, Plaintiff respectfully requests that this Court:

lssue a preliminary and permanent injunction against the Defendants, and all others in
active concert or participation with Defendants, from further broadcast of the Infringing
Work or other infringement of Plaintiff’s protected copyrighted Original Work;

Order the Defendants to recall and destroy all copies of the infringing Work or any other

derivatives of Plaintiff’ s Original Work, in whatever form they may exist;

c. Order Defendants to pay Plaintiff an amount to be determined at trial in actual damages and
profits, plus interest, pursuant to 17 U.S.C. §504(1)), the exact amount to be determined at
trial;

d. Order Defendants to pay Plaintiff not less than $75() or more than $30,000 per broadcast of
the Infringing work as damages pursuant to 17 U.S.C. §504(0)(1);

e. Order Defendants to pay Plaintiff the sum of 3150,000 per broadcast of the Infringing
Work as additional statutory damages pursuant to 17 U.S.C. §504(0)(2);

f. Order Defendants to pay Plaintiff both the costs of this action and the reasonable
attorneys’ fees incurred by Plaintiff in prosecuting this action pursuant to 17 U.S.C. §505

g. Order the imposition of a constructive trust over Defendants’ profits which resulted from
their infringement of Plaintiffs’ Original Work;

h. Order that Defendants provide Plaintiff a full and complete accounting of all profits
obtained from their marketing distribution, streaming and national television broadcasting
and/or any other sales of the Infringing Work and any other amounts due and owing to
Plaintiff as a result of Defendants’ infringement; and

i. Grant Plaintiff such other and additional relief as the Court deems just and proper.

JURY DEMAN})

Pursuant to Rule 3S(b) of the Federal Rules of Civil Procedure, Plaintiff respectfully demands

that this proceeding be tried to a jury.
Dated: 8/14/ 18 i\
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read the Ve_rified Co;npla'int and know its contents.rl am informed and b.elie_ve, and on that
ground`allege, that_the factual matters stated therein are true. The matters stated are true to my

own _knowledge,_ except as to those matters that are stated on.inforrnation and beii'ef-, and as itc

those matters-, .I believe them to be true_ .

 

Swo_rn to before me this _____ day

  

  

Cans'niar assn»ctate _
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